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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
June 2018 Grand Jury

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UNITED STATES OF AMERICA,

 

 

 

 

PMMHH, §§QLSIM§HE
V. _ [18 U.S.C. §§ 2252A(a)(5)(B),
(b)(2): Possession of Child
cHRIsToPHER NORMAN sTRINDEN, Pornography]
aka “nonenone,”
Defendant.
The Grand Jury charges:
COUNT ONE

[18 U.S.C. §§ 2252A(a)(5)(B), (b)(2)]

On or about October 9, 2015, in Los Angeles County, within the

Central District of California, defendant CHRISTOPHER NORMAN

STRINDEN, also known as “nonenone” (“STRINDEN”), knowingly possessed

a Western Digital Hard Disk Drive, bearing serial number WMAZA8610573
(“Western Digital 0573”), which contained child pornography, as

defined in Title 18, United States Code, Section 2256(8)(A),

involving a prepubescent minor and a minor who had not attained 12

that had been mailed, and shipped and transported using

years of age,

 

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any means and facility of interstate and foreign commerce and in and
affecting interstate and foreign commerce by any means, including by
computer, knowing that the images were child pornography.

The child pornography that defendant STRINDEN possessed on the
Western Digital 0573 included, but was not limited to, a video titled

“BabyJ ~ Panty.avi.”

 

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COUNT TWO
113 U.s.c. §§ 2252A(a)(5)(13), <b) <2)]

On or about October 9, 2015, in Los Angeles County, within the
Central District of California, defendant CHRISTOPHER NORMAN
STRINDEN, also known as “nonenone” (“STRINDEN”), knowingly possessed
a Western Digital Hard Disk Drive, bearing serial number WCAP90304943
(“Western Digital 4943”), which contained child pornography, as
defined in Title 18, United States Code, Section 2256(8)(A),
involving a prepubescent minor and a minor who had not attained 12
years of age, that had been mailed, and shipped and transported using
any means and facility of interstate and foreign commerce and in and
affecting interstate and foreign commerce by any means, including by
computer, knowing that the images were child pornography,

The child pornography that defendant STRINDEN possessed on the
Western Digital 4943 included, but was not limited to, a video titled

“Jho -Pany.avi.”

 

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COUNT THREE
113 U.S.c.-§§ 225211<:1) <5) <B), <b) <2)1
On or about October 9, 2015, in Los Angeles County, within the
Central District of California, defendant CHRISTOPHER NORMAN
STRINDEN, also known as “nonenone” (“STRINDEN”), knowingly possessed
a Western Digital Hard Disk Drive, bearing serial number WCAU42475411
(“Western Digital 5411”), which contained child pornography, as
defined in Title 18, United States Code, Section 2256(8)(A),
involving a prepubescent minor and a minor who had not attained 12
years of age, that had been mailed, and shipped and transported using
any means and facility of interstate and foreign commerce and in and
affecting interstate and foreign commerce by any means, including by
computer, knowing that the images were child pornography.
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The child pornography that defendant STRINDEN possessed on the

Western Digital 5411 included, but was not limited to, a video titled

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“l NEW 1 (pthc) 2007 Tara Byr ~ ass fuck and ass vibrator.mpg.”

NICOLA T. HANNA
United States Attorney

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LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

JUSTIN R. RHOADES

Assistant United States Attorney
Chief, Violent & Organized Crime
Section

JEFFREY M. CHEMERINSKY
Assistant United States Attorney
Violent & Organized Crime Section

A TRUE BILL

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Foreperson

 

 

